 

ry “-. ,,1-;;,,,"3_',~¢~»~~; ll ,q,~ W~-_,~ 7 - - w - » w w ~» ~~»~~,~.~\»,¢,»W»mmww".fnw »\`,,,;1,.,.»~.¢.' “ v _F m , - _ »~»~~-»--.¢~»w.,._q,....,.r.. awme ,-,.,...._.,

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UN|TED STATES D|STR|CT CCURT
SQUTHERN DlSTRlCT OF CAL|FCRN|A

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UN|TED STATES OF AMERlCA )
)
vs ) ABSTRACT OF ORDER
)
) Booking No. `SOQ \Z`(X
I' . )
kthow \Zo\oerl l cl l m §
TO THE UN|TED STATES MARSHAL AND / OR WARDEN, METROPOL|TAN CORRECT|ONAL CENTER:
Be advised that under date of Q l \<g` 001 ’
the Court entered the following order: " ~““l

, /

Defendant be released from custody.

: 4 § '
Defendant placed on supervised / unsupervised probation / supervised release:. , ~: (' l
Defendant continued on supervised / unsupervised probation / supervised release ll

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and released from custody.

___L_ Defendant released on $ 2§ >,l>( g E| 3 bond posted.

Defendant appeared in Court. FlNGERPR|NT & RELEASE.

Defendant remanded and ( bond) ( bond on appeal) exonerated.
Defendant sentenced to TlME SERVED, supervised release for years.
c.c. judgment Court of Appeals( affirming) ( reversing) decision of this Court:

dismissing appeal filed.
Bench Warrant Reca|led.
Defendant forfeited collatera|.
Case Dismissed.

Defendant to be released to Pretria| Services for electronic monitoring.

 

 

 

Other.
101de mo@l)lzl;u& .JR.
UN|TED STATES MAGISTRATE JUDGE
OR
Received W. SAMUEL HAMRICK, JR. Clerk
ousM by \ \\
CMA Deputy Clerk
Crim_g (Rev 6_95) * U.S. GFO: 1996'783~395/40151

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